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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




    UNITED STATES OF AMERICA, et al.,

                                     Plaintiffs,            Case No. 1:20-cv-03010-APM

    v.                                                      HON. AMIT P. MEHTA
    GOOGLE LLC,

                                     Defendant.


                           NOTICE OF SUPPLEMENTAL AUTHORITY
                       PURSUANT TO THE COURT’S APRIL 12, 2022 ORDER

     Cases In Support Of The Court’s Inherent Authority To Issue Sanctions Based On Pre-
                    Litigation Conduct That Abuses The Judicial Process1

Court of Appeals Decisions (listed in reverse chronological order)
            Snider v. L-3 Commc’ns. Vertex Aerospace, L.L.C., 946 F.3d 660, 680 (5th Cir.
             2019) (“[A] per se rule against sanctions for prelitigation conduct is inconsistent with the
             justifications for inherent-authority sanctions. A court’s inherent authority to impose
             sanctions serves goals beyond the specific litigation at hand. It exists also to protect the
             integrity of the judicial process writ large. A court should be free to sanction conduct that
             undermines that process, whether it occurred during litigation or before it.”).

            Xyngular v. Schenkel, 890 F.3d 868, 87173 (10th Cir. 2018) (“We conclude that
             termination sanctions are permissible when pre-litigation conduct is aimed at
             manipulating the judicial process and is unrelated to the conduct that gave rise to the
             substantive claims in a case,” and although it “took place before litigation began,
             Schenkel’s misconduct was intended to improperly influence the judicial process.”).


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  In its April 12, 2022 Order, the Court “question[ed] whether it has the inherent authority to
impose sanctions for pre-litigation conduct of the type at issue here.” Order at 1–2. Plaintiffs
note that three exhibits in Plaintiffs’ Memorandum were created after the filing of the Complaint.
See Pls. Ex. 25 (Figure 11) (11/03/2020); Pls. Ex. 28 (10/30/2020); Pls. Ex. 31 (Figures 13 & 14)
(07/05/2021). Plaintiffs are also prepared to provide the Court, if helpful, additional examples of
documents executing Google’s Communicate-with-Care strategy created after the filing of the
U.S. Plaintiffs’ Complaint on October 20, 2020, including silent-attorney emails deprivileged by
Google after the filing of Plaintiffs’ Reply.
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   Micron Technology, Inc. v. Rambus Inc., 645 F.3d 1311, 1322, 132526 (Fed. Cir.
    2011) (“District courts have the inherent power to control litigation by imposing
    sanctions appropriate to rectify improper conduct by litigants;” “it was not clear error for
    the district court to conclude that the raison d’être for Rambus’s document retention
    policy was to further Rambus’s litigation strategy by frustrating the fact-finding efforts of
    parties adverse to Rambus,” and thus Rambus engaged in spoliation (internal quotation
    marks and citation omitted)).

   Eagle Hosp. Physicians, LLC v. SRG Consulting, Inc., 561 F.3d 1298, 1306–07 (11th
    Cir. 2009) (affirming a district court’s use of inherent authority to sanction a party’s pre-
    litigation interception of privileged emails because the party, “a frequent litigator,”
    “would be familiar with the notion of privileged information[,]” and would know that its
    conduct was wrong).

   Gas Aggregation Servs., Inc. v. Howard Avista Energy, LLC, 458 F.3d 733, 739 (8th
    Cir. 2006) (“This inherent power reaches conduct both before and during litigation as
    long as the conduct abuses the judicial process in some manner.”).

   Silvestri v. Gen. Motors Corp., 271 F.3d 583, 591 (4th Cir. 2001) (“The duty to preserve
    material evidence arises not only during litigation but also extends to that period before
    the litigation when a party reasonably should know that the evidence may be relevant to
    anticipated litigation.”).

   Kronisch v. United States, 150 F.3d 112, 118, 126–27 (2d Cir. 1998) (observing the
    obligation to preserve evidence arises, for example, “when a party should have known
    that the evidence may be relevant to future litigation,” and concluding the jury was
    permitted to draw an adverse inference against the defendants based on the defendants’
    spoliation ten years before litigation when it was “hard to believe” that defendants were
    not concerned with the possible consequences to themselves and their organization if the
    documents were disclosed).

   Shepherd v. Am. Broad. Cos., Inc., 62 F.3d 1469, 1474–75 (D.C. Cir. 1995) (“When
    rules alone do not provide courts with sufficient authority to protect their integrity and
    prevent abuses of the judicial process, the inherent power fills the gap. As early as 1812,
    the Supreme Court stated that ‘[c]ertain implied powers must necessarily result to our
    courts of justice, from the nature of their institution,’ explaining that such powers ‘cannot
    be dispensed with in a court, because they are necessary to the exercise of all others.’
    United States v. Hudson, 11 U.S. (7 Cranch) 32, 34 (1812). The inherent power
    encompasses the power to sanction attorney or party misconduct . . . .” (citations
    omitted)).

   Unigard Sec. Ins. Co. v. Lakewood Eng’g & Mfg. Corp., 982 F.2d 363, 368 & n.2 (9th
    Cir. 1992) (affirming evidence “was properly excluded as an exercise of the district
    court’s inherent powers” as a sanction for the pre-litigation spoliation of evidence, even
    in the absence of bad faith, because “[c]ourts are invested with inherent powers that are
    governed not by rule or statute but by the control necessarily vested in courts to manage
    their own affairs so as to achieve the orderly and expeditious disposition of cases”
    (internal quotation marks and citation omitted)).

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District Court Decisions (listed in reverse chronological order)
      Selinger v. Kimera Labs, Inc., No. 20-24267-CIV, 2022 WL 668340, at *5–6 (S.D. Fla.
       Mar. 4, 2022) (holding a court’s inherent authority permits sanctions for pre-litigation
       conduct where the defendant repeatedly withheld relevant evidence “in an apparent
       attempt to undermine a claimant’s ability to seek relief,” citing Second, Fourth, Sixth,
       and Eleventh Circuit precedent that “upholding the exercise of inherent power authority
       even for pre-litigation conduct” furthers “a court’s predominant responsibility of
       protecting the judicial process”).
      Raymond v. Spirit AeroSystems Holdings, Inc., No. 16-1282-JTM, 2017 WL 3895012,
       at *7 (D. Kan. Sept. 6, 2017) (holding a court could impose sanctions based on
       prelitigation conduct where “counsel’s misconduct originated before the complaint was
       filed, but also continued for several months afterward” and “[m]ore importantly, the
       sanctions are not imposed based upon bad faith acts by the plaintiffs which give rise to
       any substantive claim, but misconduct by Denver counsel in relation to privileged and
       confidential documents,” which was “abusive of the judicial process, and is subject to
       sanction by the court”).

      Est. of Seaman ex rel. Seaman v. Hacker Hauling, 840 F. Supp. 2d 1106, 1115–17
       (N.D. Iowa 2011) (holding the court had inherent authority to issue a sanction striking
       from evidence an expert’s testimony and report based on prelitigation spoliation of
       evidence “the plaintiff’s attorney allowed [relevant evidence] to be destroyed with the
       intent to deprive the other interested parties of an opportunity to have their experts
       examine [it]” and “[t]he only reason to have done this would have been to suppress the
       truth”).

      Baggett v. Yamaha Motor Co., No. 3:06CV184TSL-JCS, 2008 WL 11506271, at *4
       n.6 (S.D. Miss. Jan. 11, 2008) (“[B]ecause the rules do not apply to acts occurring in
       advance of litigation, the trial court must rely on its inherent authority to sanction the
       spoliating party if spoliation occurs before litigation commences.” (internal quotation
       marks omitted)).

      Large v. Mobile Tool Int’l, Inc., No. CIV. 1:02CV177, 2008 WL 89897, at *7 (N.D.
       Ind. Jan. 7, 2008) (“When it comes to sanctions motions, the important consideration is
       justice. The court has the inherent authority to sanction a party for misconduct, including
       prelitigation spoliation, in order to protect the integrity of the judicial system and prevent
       abuses of the discovery process.” (internal quotation marks omitted)).

      ValuePart, Inc. v. Clemens, No. 06-2709, 2006 WL 8460312, at *4 (N.D. Ill. Oct. 30,
       2006) (“While sanctions under Federal Rule of Civil Procedure 37 are limited to
       instances of a party violating a court’s order or discovery ruling (and courts have
       interpreted the term ‘order’ broadly), a court’s inherent authority to sanction is not so
       limited. The court has the inherent authority to sanction a party for misconduct, including
       prelitigation spoliation, in order to protect the integrity of the judicial system and prevent
       abuses of the judicial process.” (internal quotations and citations omitted) (emphasis in
       original)).


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